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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK




IN RE: THE BANK OF NEW YORK                 16-CV-00212-JPO-JLC
MELLON ADR FX LITIGATION
                                            PLAINTIFFS’ RESPONSE
                                            IN OPPOSITION TO
                                            DEFENDANT’S MOTION FOR
                                            PARTIAL SUMMARY JUDGMENT


                                            ECF Case


This Document Relates to:

CONTRACT CLASS ACTION




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            Plaintiffs respectfully submit this memorandum in opposition to Defendant The Bank of

New York Mellon’s (“BNYM” or “the Bank”) motion for partial summary judgment.

                                                 Introduction

            This case involves BNYM’s deliberately deceptive conduct in pricing foreign exchange

conversions on dividends and other cash distributions that it was obligated to convert for

Plaintiffs and other holders of American Depositary Receipts (“ADRs”). BNYM’s pricing

practices breached the contracts that govern how BNYM was to effectuate these conversions, as

Plaintiffs will show at trial. More important for this motion, however, is that BNYM’s

executives wrote down a scheme of concealment, and then followed through on it for years on

end. BNYM designed its scheme based on the understanding, shared among the Bank’s

executives and reflected in multiple internal documents, that the mechanics and timing of FX

transactions were not known or discernible to outside parties, including the plaintiffs in this case,

and worked to exploit that lack of transparency. BNYM’s scheme is set out in extraordinarily

stark detail in its own documents, and is functionally the same one that Judge Kaplan called “an

outrageous wrong” at the conclusion of predecessor litigation that resulted in BNYM’s payment

of $714 million to government entities and private claimants. Exh. 1 (9/24/15 Hearing Tr.), at

17.1

            Although Plaintiffs set forth below more than sufficient evidence to establish genuine

issues of material fact, the Court need not even reach the merits of BNYM’s motion, because

BNYM’s motion is procedurally improper. BNYM’s motion seeks to dismiss the claims of

absent class members not before the Court and who have not yet had an opportunity to choose

whether they will be bound by the outcome of this action. At the same time, it effectively seeks

1
  Unless otherwise noted, exhibits are attached to the accompanying Declaration of Daniel P. Chiplock, all emphasis
in this brief has been added, and all internal citations and quotation marks have been omitted.



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reconsideration of a ruling – concerning class standing – that this Court expressly informed the

parties was to be deferred until class certification.

            Even if the Court were to reach the merits of BNYM’s motion, however, it is clear that

BNYM has come nowhere close to carrying its burden to show the absence of fact issues. Nor

could it. BNYM’s concealment of its conduct is in black and white. BNYM can only concede

the conduct alleged in the complaint and then ask this Court, in the face of clear evidence of

deliberate and sustained concealment, that those documents do not mean what they say, and that

as a matter of law, BNYM’s conduct was not concealment. To the contrary, disputed facts

pervade BNYM’s motion.

            For example (even as it concedes that Plaintiffs’ claims are timely), the Bank argues that

Plaintiffs had sufficient information to detect the Bank’s misconduct, contending that Plaintiffs

should have hired, as the Bank did for this motion, an $800/hour expert to detect the Bank’s

conduct as it was occurring. The Bank improperly urges this Court to draw a series of inferences

in the Bank’s favor, from the availability of FX trading and ADR-related information to the

degree of reasonable diligence required to investigate the Bank’s conduct. The Bank also seeks

to characterize its ongoing and intentional concealment, which it repeatedly memorialized and

confirmed internally, as a mere failure to disclose its pricing practices, and not as affirmative acts

of concealment. That, too, raises numerous fact issues.

            For these and other reasons set out below, BNYM’s motion should be denied.

                                           Statement of Facts

            A.     The Bank’s Obligations to ADR Holders.

            ADRs are negotiable U.S. securities representing ownership of publicly traded shares in a

foreign corporation. Plaintiffs, and the class members they represent in this case, are holders of

ADRs for which BNYM serves as the depositary bank. Pursuant to agreements between (a)


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BNYM, (b) the foreign issuer whose shares are deposited with BNYM, and (c) the owners and

the owners/beneficial owners of the ADRs (Plaintiffs and class members), BNYM holds shares

issued by foreign companies on behalf of, and for the benefit of, U.S. investors in the ADRs.

Under those agreements, BNYM is to convert into U.S. dollars any cash distributions received

from these foreign companies in which ADR holders have invested through ADRs.

            Plaintiffs, like other ADR holders, can discern very little about the Bank’s ADR FX

conversions after the Bank has performed them. An investor may see, on an account statement,

the amount of the dividend, as expressed in US dollars, the settlement date (or just “date”), and

little else. See ECF No. 76-9 (Local 138), at 14-16; ECF No.76-13 (Feige), at 14-20, and ECF

No. 76-15 (Carofano), at 7.                                                   , investors do not learn

what the prevailing rates were at the time that BNYM executed the transaction (

                                    ), even the date that actually BNYM executed the FX

conversion, or the rate that the Bank actually received, as opposed to what was attributed to a

particular conversion. The amounts at issue, as to each dividend for each individual investor, are

typically modest. See ECF No. 76-9, at 14-16; ECF No. 76-13, at 14-20; ECF No. 76-15, at 7.

            BNYM breached those agreements in several ways, and actively concealed its conduct

from ADR investors for years; indeed, its entire pricing methodology was constructed to avoid

detection. First, the agreements obligated BNYM to convert “such foreign currency into

dollars,” and distribute “such dollars . . . as promptly as practicable from foreign currency into

USD to the Owners entitled thereto.” See Compl. (ECF No. 39) Exh. 1 §§ 4.01, 4.05. Second,

the agreements expressly enumerate BNYM’s permissible fees and charges as the depositary; as

related to ADR FX conversions, they provide that BNYM is permitted only to recoup its actual

“expenses.” See id. § 5.09 & Exh. A, § 7. Finally, the agreements obligate BNYM to act




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“without negligence or bad faith.” See, e.g., id. § 5.03 (Obligations of the Depositary, the

Custodian and the Company) & Exh. A, § 18 (Liability of the Company and Depositary)).

BNYM breached each of these provisions of the agreements.

            Rather than charging rates on FX transactions necessary to perform ADR FX conversions

in good faith and in a manner that reflected a prompt conversion of cash distributions into USD,

BNYM assigned prices to dividend conversions based on the range of at least a 24-hour period

(the “range of the day”), thereby retaining a portion of the sum of dollars converted as additional,

risk-free profits, over and above any profit the Bank had already secured after managing its own

risk.

            This scheme was essentially identical to the one that was the subject of prior litigation,

brought by both government entities and private plaintiffs, concerning the Bank’s pricing of

trades done pursuant to its “standing instructions” program for custodial clients. The Bank paid

$714 million to end that litigation. See Exh. 2 (DOJ press release). When it settled the standing

instructions FX litigation, BNYM admitted that its Global Markets FX desks knowingly charged

the Bank’s custodial clients unfavorable rates on standing instructions FX trades. As part of the

January 17, 2012 Stipulation and Order of Partial Settlement and Dismissal related to a lawsuit

brought by the Department of Justice, BNYM publicly admitted for the first time that the Bank

“assigns prices to Standing Instruction Service transactions that are at or near the high end of

the range of prices reported in the interbank market for currency purchases for the relevant

pricing cycle, and at or near the low end of range of prices reported in the interbank market for

currency sales for the relevant pricing cycle.” Exh. 3. The Bank would later admit, as part of a

final settlement of the DOJ’s lawsuit, that “the Bank gave SI clients prices that were at or near

the worst interbank rates reported during the trading day or session.” Exh. 4. ADR FX




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Conversions were priced in a similar manner to SI FX transactions, a fact that remained hidden

until October 2015. Exh. 5.

            B.     BNYM Designed and Implemented a Scheme to Breach Its Obligations to
                   ADR Holders, and to Mask Its Conduct.

            BNYM’s scheme with respect to ADR FX conversions dates to early 1997, and it was

explicitly designed to be self-concealing. At that time, the then-Bank of New York’s Depositary

Receipts Group and Global Markets began “a new cooperative effort with the ADR group here at

BNY whereby we [Global Markets] are asking our ADR colleagues to wrest back control of

ADR dividend conversions from many of the subcustodians, and let our FX desks do it.” Exh.

6.2 The objective of this effort was




            What BNYM came up with violated the terms of its depositary agreements, and was

designed with the express purpose of concealment.




            BNYM memorialized its scheme in what its author, BNYM executive Richard Estes,

proudly later referred to as the “Bible” for pricing ADR dividend conversions. Authored by Mr.
2
  This document, along with Exhibit 18, are among 51 documents that were produced by BNYM in the predecessor
litigation and ordered to be de-designated as confidential by Judge Kaplan. See ECF No. 47. The documents also
would have become public under the sunset provision of the prior litigation’s protective order. See ECF No. 65.
BNYM provided these documents without use restriction, allowing public filing. See Chiplock Decl. ¶ 6.



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            BNYM’s Bible described how traders could conceal this activity from “any outside

party.” Under the heading “Pricing Large v. Small Trades,” Mr. Estes wrote, “While we want to

maximize the day’s range when pricing ADR trades, we cannot consistently price them at or near

the day’s high/low every time. Rather, to keep any outside party from detecting a pricing

pattern, we should purposely price some trades at the middle of the day’s range so that there

appears to be no deliberateness in our activity.” Id.



                       As Mr. Estes testified,




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   In 2004, Mr. Estes boasted that his Bible had been used by the Bank’s “well-versed traders on

pricing ADR dividends. You can see that this process has been running every so smoothly

without incident for over seven years.” Exh. 6.




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            C.     BNYM Understood and Intended Its Conduct to Be Concealment.

            The Bank was aware of and exploited the fact that ADR holders could not meaningfully

hold the Bank to its contractual promises to execute the trades promptly and/or on a reasonable

basis, or detect any unauthorized deductions from the amounts they were owed. As the Bible’s

direction to price some trades in a manner that would avoid “detecting a pricing pattern” reflects,

the Bank was aware that if investors knew what it was up to, they would object. Otherwise,

there would have been no need to hide the Bank’s pricing practices. Another email exchange

makes this plain. ADR FX conversions were classified within the Bank as “internal FX,” or FX

transactions that were generated internally within BNYM. See, e.g., Exh. 18. In the email, from

2008 and referring to “internal FX,” a Bank employee writes, “Though absolutely true, do we

want to state in black & white that Global Markets manages Internal FX positions to maximize[]

profits?4 I know that it is true, but one good subpoena from a standing instruction customer

4
  Indeed, John Cipriani, who ran the Bank’s FX transaction desk during most of the relevant time period in this case,
testified recently (as the Bank’s corporate designee) that
                                                                             Footnote continued on next page


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            It was not until October 1, 2015, just one week after Judge Kaplan granted final approval

of the settlement of the standing instructions FX litigation, that BNYM published a “Depositary

Receipts Foreign Exchange Pricing Disclosure” (Exh. 5) on its ADR-devoted webpage. In that

document, the Bank publicly stated for the first time that, notwithstanding whatever language

was contained in its depositary agreements, the Bank made “no representations, warranties or

guarantees as to whether the price or the pricing methodology [it] used to price a [ADR FX

conversion] yields a fair market price.” Id. BNYM stated that it consistently priced ADR FX

conversions to take advantage of the range of market rates available during a particular 24-hour

(or in some cases longer) trading session (regardless of when, during that session, the trade was

actually priced), with the spreads on such trades accruing to the Bank as “revenue.”




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                                             Legal Standard

            To obtain summary judgment, BNYM must show that “there is no genuine dispute as to

any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). As this Court has explained, “a dispute is genuine if, considering the record as a whole, a

rational jury could find in favor of the non-moving party.” Etheredge-Brown v. Am. Media, Inc.,

13 F. Supp. 3d 303, 304-05 (S.D.N.Y. 2014) (Oetken, J.). “Any ambiguities and all inferences

must be drawn in favor of the non-movant, and the court must view the evidence in the light

most favorable to the non-movant.” M&T Mortg. Corp. v. White, 736 F. Supp. 2d 538, 552

(E.D.N.Y. 2010). The Bank bears the burden of proving the absence of a material issue of fact.

See id. (citing Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986)).

                                               Argument

I.          BNYM’s Motion, Which Seeks “Judgment” Solely Against Claims of Absent
            Members of an Uncertified Class, is a Nullity.

            Acknowledging that all of the named plaintiffs’ claims are timely regardless of fraudulent

concealment (Br. at 22-25), BNYM nonetheless requests a judgment “dismissing all claims . . .

that accrued prior to the applicable limitations period,” i.e., those of certain absent putative class

members. Id. at 1. But the relief the Bank seeks is illusory, because absent members of an

uncertified class are indisputably not parties to the case, and so judgment cannot be entered

against them. See Smith v. Bayer Corp., 564 U.S. 299, 313 (2011) (noting “the novel and surely

erroneous argument that a nonnamed class member is a party to the class-action litigation before

the class is certified”) (emphasis in original). No wonder, then, that the Bank cites no decision

granting judgment as to absent class members’ claims before class certification. The Court need

go no further to dispense with this meritless—indeed, frivolous—motion.




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            BNYM cites Schweizer v. Trans Union Corp., 136 F.3d 233 (2d Cir. 1998), for the

proposition that summary judgment can precede a ruling on class certification. That is true with

respect to summary judgment on the named plaintiff’s claim—as was the case in Schweizer—not

claims of absent class members. See id. at 239 (“‘There is nothing in Rule 23 which precludes

the court from examining the merits of plaintiff’s claims on a proper Rule 12 motion to dismiss

or Rule 56 motion for summary judgment simply because such a motion’ precedes resolution of

the issue of class certification.”) (quoting Lorber v. Beebe, 407 F. Supp. 279, 291 n.11 (S.D.N.Y.

1976)). Indeed, the court in Lorber, which Schweizer quotes, made clear that defendants’

summary judgment motion was “addressed to the substance of the plaintiff’s own claim,” not the

claims of absent class members. 407 F. Supp. at 291 n.11.

            Dismissing absent class members’ claims would implicate serious due process concerns,

as “one is not bound by a judgment… to which he is not designated as a party or in which he is

not been made a party by service of process.” Zenith Radio Corp. v. Hazeltine Research, Inc.,

395 U.S. 100, 110 (1969). That is why, when a court grants summary judgment against a named

plaintiff’s claim before a class has been certified, “that decision will not bind putative class

members.” Mendez v. Radec Corp., 260 F.R.D. 38, 46 (W.D.N.Y. 2009) (citing cases). On such

motions, “courts view the defendant as deliberately waiving the possibility of a victory against

the whole class (which would occur if certification were to precede a defendant’s victory at

summary judgment).” Newberg on Class Actions § 7.10 (2013).6 Indeed, the very point of Rule

23’s inquiry is to determine whether the proposed class representatives will properly serve absent

class members’ interests. BNYM would have the Court dismiss many of these class members’

claims without having yet found that Plaintiffs are adequate to represent them—and without the
6
  See also, e.g., Schwarzschild v. Tse, 69 F.3d 293, 297 (9th Cir. 1995) (“By obtaining summary judgment before
notice had been sent to the class, the defendants waived their right to have such notice given and to obtain a
judgment that was binding upon the class.”).



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absent class members even having received notice that this case was filed, and that their claims

were dismissed. BNYM’s gambit runs headlong into bedrock constitutional principles. See

Mullane v. Cent. Hanover Bank & Trust Co., 339 U.S. 306, 314 (1950) (“An elementary and

fundamental requirement of due process in any proceeding which is to be accorded finality is

notice reasonably calculated, under all the circumstances, to apprise interested parties of the

pendency of the action and afford them an opportunity to present their objections.”).

II.         Genuine Issues of Material Fact Exist Concerning the Bank’s Deliberate, Explicit,
            and Continuing Concealment of Its Conduct.

            Even if this issue were properly before the Court at this stage, the record is replete with

factual disputes—including remarkable outright admissions by BNYM—that make summary

judgment inappropriate as to each of the elements of fraudulent concealment. To toll the statute

of limitations under the doctrine of fraudulent concealment, Plaintiffs must show “(1) that the

defendant concealed from him the existence of his cause of action, (2) that he remained in

ignorance of that cause of action until some point within [the applicable limitations period] of his

action, and (3) that his continuing ignorance was not attributable to lack of diligence on his

part.”7 State of N.Y. v. Hendrickson Bros., 840 F.2d 1065, 1083 (2d Cir. 1988); see also ECF

No. 36 (Op. and Order on Mot. to Dismiss), at 16-17 (listing same elements as Hendrickson, and

citing to Hinds Cnty., Miss. v. Wachovia Bank, N.A., 700 F. Supp. 2d 378, 399-400 (S.D.N.Y.

2010), which cites Hendrickson).8

7
  California’s standard is substantially similar. See Migliori v. Boeing N. Am., Inc., 114 F. Supp. 2d 976, 983 (C.D.
Cal. 2000) (“Under [California’s] fraudulent concealment doctrine, a defendant’s fraud in concealing a cause of
action against him tolls the applicable statute of limitations, but only for that period during which the claim is
undiscovered by plaintiffs or until such time as plaintiff, by the exercise of reasonable diligence, should have
discovered it.”) (emphasis in original).
8
  Perhaps in an effort to state a more stringent standard than this Court and the Second Circuit have adopted for
fraudulent concealment (such as a reliance element), BNYM’s motion conflates fraudulent concealment with other
tolling doctrines, such as equitable estoppel. See Br. at 14-15. The latter generally involves cases in which the
plaintiff knew of the cause of action, but was delayed in filing by a defendant’s misconduct. See, e.g., Marshall v.
Hyundai Motor. Am., 51 F. Supp. 3d 451, 462-63 (S.D.N.Y. 2014). BNYM’s cited authorities, however, also set out
                                                                             Footnote continued on next page


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            A.     Plaintiffs’ Purported Access to BNYM’s Pricing Practices Raises Genuine
                   Issues of Material Fact.

            BNYM’s assertion that Plaintiffs “had the information necessary” to investigate BNYM’s

unlawful conduct and then bring suit (Br. at 15) does not withstand scrutiny. On the one hand,

BNYM’s criticisms of the Plaintiffs’ make no sense, as BNYM’s position is that Plaintiffs assert

no time-barred claims, see Br. at 22-25, so their diligence cannot be faulted. Even setting this

aside, however, the question of what Plaintiffs could have reasonably discovered about what

BNYM was up to, what information was necessary to understand any potential claims, how they

could have discovered it, and using what methods and sources, raises a host of fact issues not

appropriate for disposition on summary judgment. BNYM acknowledged and understood that

ADR investors would not understand the mechanics of FX trading, and designed a system

designed to deter the sustained, expensive, and sophisticated inquiry that BNYM contends that

Plaintiffs were required to undertake. Even in its motion, the nature of the investigation BNYM

thinks was reasonable is unclear, and raises additional fact issues. BNYM’s position not only

requires the drawing of inferences in its favor (to say the least), it defies common sense.

            As an initial matter, the Bank’s characterization of what information was “available” to

Plaintiffs, at best, raises a fact issue, and at worst is grossly misleading. As set out above,

Plaintiffs’ brokerage statements included little information about the ADR FX conversions at

issue, simply listing a dollar amount and a settlement date, or simply “date.” See ECF No. 76-9,

Footnote continued from previous page
the straightforward standard for fraudulent concealment that this Court adopted. See Jackson v. Eddy’s LI RV Ctr.,
Inc., 845 F. Supp. 2d 523, 533 (E.D.N.Y. 2012) (requiring showing that defendant “wrongfully concealed its
actions, such that Plaintiff was unable, despite due diligence, to discover facts that would allow him to bring his
claim in a timely manner”), and Feritta v. Knoedler Gallery, LLC, No. 14-cv-2259, 2015 WL 374968, at *8
(S.D.N.Y. Jan. 29, 2015). Zumpano v. Quinn, 849 N.E.2d 926 (N.Y. 2006), cited by the Bank (Br. at 15) and
involving equitable tolling, is inapposite. In that case, which involved sexual abuses by priests, the plaintiffs
understood that they had been victimized by the defendant years earlier, and tolling turned on the defendant’s
actions in preventing the plaintiff from filing a lawsuit. This case involves the Bank’s actions in preventing
Plaintiffs from even discovering its pricing scheme. In any event, Plaintiffs also meet the standard for equitable
estoppel because they can show acts of concealment by the Bank. See supra § II(D).



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12, and 15. BNYM contends that, even for the modest individual conversions at issue in this

case, each Plaintiff should have consulted notices that BNYM filed with the Securities &

Exchange Commission, listing a “Gross Dividend Rate,” and a distribution (not settlement) date,

and/or issuers’ filings showing “local payable dates.” Br. at 9-10. Plaintiffs were then to

determine the rate of the ADR FX conversion, and then compare that rate by purchasing data

from a vendor such as Reuters to compare the rate applied to the rates “surrounding the local

payable dates.” Id. at 10.

            The Bank’s decision to attach a declaration from an expert economist, billing at $800 per

hour, is revealing, and not in a way that helps the Bank. That expert describes a complicated

process of purchasing and analyzing a large volume of data, to show that Plaintiffs should have

caught onto the Bank’s scheme.9 That complicated process raises a host of fact issues

concerning the information actually available to Plaintiffs. BNYM blithely contends, “All

Plaintiffs had to do was compare the FX rates they received with prevailing interbank rates on

and around the local payable date.” Br. at 17. That statement is simply not correct. Investors

would have needed to examine more than their own isolated transactions to detect a “pattern” of

unfavorable pricing; this is why BNYM hired an expert to demonstrate BNYM’s poor pricing

(and confirm Plaintiffs’ allegations in the process). A single dividend conversion, or even

several such conversions, at the worst end of the intraday range, would not have been sufficient

for an investor to understand BNYM’s scheme.

            Further, BNYM fudges the date ranges that it contends Plaintiffs should have

investigated. BNYM does not explain what “on and around the local payable date” would mean

for an investor trying to compare the rates received with comparable rates and understand
9
 There is tension, to say the least, between the Bank’s touting the purported convenience of its ADR services for
small amounts, see ECF No. 81 (BNYM Local Rule 56.1 Statement) ¶ 11, then arguing that the Plaintiffs should
have hired an $800 per hour expert to figure out how badly the Bank was treating them.



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BNYM’s practices.10 It is not clear what dates BNYM thinks investors should have been using

when it asserts that its scheme “would have been apparent to anyone who reviewed the publicly

available data.” Br. at 12. It would not even be clear to an investor when BNYM actually

performed the FX conversion. As BNYM executive Richard Estes testified,




                                                                                                       11
                                                                                                            Whether an

investor could have even known what intraday trading ranges to consult to compare to the rates

received on a given cash distribution is a fact issue.

            In any event, while BNYM criticizes Plaintiffs for not conducting a chase for

information, its argument is a red herring. Even if Plaintiffs had (expensively) pieced together

the puzzle of BNYM’s exploitative rates, that completed puzzle would not have revealed the

core breach in this case – BNYM’s practice of looking back over a 24-hour or longer period and

assigning, risk-free, the worst or close to the worst rate of the day. That was the key information

BNYM held and kept from investors until 2015 and may have revealed the basis for a claim.12

Even a long-time manager in BNYM’s dividends group, Edris Royer,



10
   BNYM elsewhere states that Plaintiffs should have examined interbank rates “for the 24- to 48-hour period
surrounding the local payable date.” Br. at 16. BNYM’s deliberate vagueness is again telling, and again
demonstrates why even the question of what the operative date to investigate raises fact issues, as it is not even clear
whether BNYM’s position is that Plaintiffs should have looked on both sides of the local payable date, let alone how
they could have known to do that.
11
   BNYM’s own authorities (Br. at 15-16), involving obvious and apparent problems, illustrate the absurdity of its
claim that Plaintiffs were on notice of BNYM’s wrongdoing. In Marshall, 51 F. Supp. 3d at 463-64, the plaintiff
took no steps to investigate a repeatedly occurring braking problem before filing outside of the limitations period.
Jackson, 845 F. Supp. 2d 523, also involved warranty claims for obvious problems with a motor home.
12
   The Bank wraps its arms around the October 2015 disclosure, contending that it contained the same information
that was already publicly available. See Br. at 17. But the fact of that disclosure – the first of its kind for the Bank –
indicates (and raises a fact issue) that its pricing practices were not obvious, as the Bank repeatedly recognized. See,
e.g., Exh. 18 (“Though absolutely true, do we want to state in black & white that Global Markets manages Internal
FX positions to maximize[] profits?”).



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            Finally, the Bank’s heavy reliance on Merryman v. J.P. Morgan Chase Bank, N.A., No.

15-cv-9188 (VEC), 2016 WL 5477776 (S.D.N.Y. Sept. 29, 2016), a decision on a motion to

dismiss involving another depositary bank, is misplaced. As this Court is aware, in ruling on

motions to dismiss, this Court and Judge McMahon, in a case against yet another depositary

bank (Citigroup), came to different conclusions than did Judge Caproni in the J.P. Morgan case.

In refusing Citibank’s motion for interlocutory review of her order, Judge McMahon specifically

noted that the questions involved “[f]act-based determinations.” Merryman v. Citigroup, Inc.,

No. 15-cv-9185 (CM), 2017 WL 129126, at *3 (S.D.N.Y. Jan. 6, 2017). BNYM made the same

arguments concerning the statute of limitations in moving to dismiss here,13 and by asking this

Court to adopt Judge Caproni’s reasoning on a separate pleading, it is simply belatedly moving

for reconsideration on that issue.

            B.     Plaintiffs Exercised Reasonable Diligence.

            BNYM cannot demonstrate an absence of disputed facts on the question of whether

Plaintiffs were reasonably diligent in detecting the Bank’s breaches. First, the question of what

constituted reasonable diligence in these circumstances is a fact-specific determination. Second,

the Bank’s affirmative concealment of its wrongdoing rendered Plaintiffs incapable of

uncovering any basis for believing that BNYM violated their depositary agreements. The

discovery conducted to date has revealed as much— the Bank designed its pricing of ADR FX

conversions specifically to avoid detection from investors like Plaintiffs.

13
 See ECF No. 22, at 29 (arguing that Plaintiffs “had access to all the information they needed to discern the rates at
which BNYM converted foreign currency to USD.”).



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            “[T]he question of whether a plaintiff exercised reasonable diligence is usually a question

of fact for the jury to decide.” Dietrich v. Bauer, 76 F. Supp. 2d 312, 345 (S.D.N.Y. 1999)

(collecting authorities). “The Second Circuit has emphasized that reasonable diligence does not

require ‘extreme’ or ‘exceptional’ diligence.” Jordan v. City of New York, No. 08-cv-1041 (DLI)

(LB), 2009 WL 701108, at *3 (E.D.N.Y. Mar. 15, 2009) (applying tolling and quoting

Baldayaque v. United States, 338 F.3d 145, 153 (2d Cir. 2003)).

            Contrary to the Bank’s characterizations, Plaintiffs (whose claims, again, the Bank

concedes are timely) exercised diligence with respect to their investments in ADRs. Plaintiffs

hired investment managers to make decisions with respect to their investments and generally

monitored their accounts. Exh. 34 (Carofano Tr.) at 94:8-95:15; Exh. 35 (Feige Tr.), at 156:13-

21; Exh. 36 (Local 138 Tr.), at 103:4-8. Such diligence was “reasonable”—especially in light of

the relatively small sums at issue for each individual Plaintiff for each individual dividend. See

Exh. 34 at 160:7-12; 162:12-18; 224:22-225:5; Exh. 35 at 173:13-18; ECF No. 76-9, at 14-16

(Local 138 dividend statements).14 Further, as Mr. Feige explained, it was reasonable to assume

that the Bank would be “guided by some semblance of fair play…” Id. at 150:19-21.

            No reasonable investor would investigate the precise manner and timing of conversions

of modest size, or go through the process that the Bank describes in its brief (see 9-10), from the

scouring of notices of distribution to the SEC, to the purchase of data from Reuters or another

service, to the calculation of an FX rate applied, to the comparison of the intraday range.

BNYM’s proposed detective work does not remotely resemble the “reasonable” diligence that


14
   The Bank selectively quotes testimony from Plaintiff Feige, that, “At the time, did I look at it and wonder, ‘Gee, I
wonder precisely when they did it and what the spread was?’ No, of course not.” Exh. 35 (Feige Tr.), at 173. Mr.
Feige was referring to a dividend conversion of $26.66, which the Bank’s counsel correctly acknowledged, in the
very next question, “isn’t very much money, fair to say?” Mr. Feige pointed out that the difference between the rate
at which the Bank priced that conversion and a more favorable rate, in a “specific instance… would have been
negligible; in the aggregate, obviously not.” Id. at 174.



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the Second Circuit requires, and that takes into account what could be expected “under the

circumstances.” See Baldayaque, 338 F.3d at 153 (emphasis in original). These facts alone are

sufficient to deny summary judgment. See New York ex rel. Spitzer v. Feldman, No. 01-6691,

2003 WL 21576518, at *5 (S.D.N.Y. July 10, 2003) (denying motion for summary judgment and

holding that existence of “reasonable diligence” was “for the jury to decide”).

            Further, the record in this case belies the Bank’s claim that Plaintiffs should have

discovered its practice, making summary judgment inappropriate. BNYM’s own “Bible”

announced the Bank’s pricing practices were specifically designed to avoid detection from “any

outside party.” See Exh. 6. The Bank was acutely aware that its practice needed to be hidden

from the public. See Exh. 18 (“Though absolutely true, do we want to state in black & white that

Global Markets manages Internal FX positions to maximize[] profits? …. One legal challenge

regards [sic] how we manage Internal FX could shut us down if we wish to put our actions into

words.”).

            The Bank cites several inquiries related to FX rates as purported evidence that Plaintiffs

were not diligent. Br. at 19. The Bank, however, has ignored evidence that




            C.     “Reasonable Reliance” on BNYM’s Concealment Is Not Required.

            BNYM’s assertion that Plaintiffs must establish “reasonable reliance” on BNYM’s

deception or misrepresentations (Br. at 20) is misplaced. In denying BNYM’s motion to dismiss,

this Court, in line with the Second Circuit, did not identify reliance, or “reasonable reliance” for


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that matter, to be an element required to establish fraudulent concealment. See ECF No. 36 at

16-17; see also Hendrickson, 840 F.2d 1065 at 1083 (listing elements of fraudulent concealment

with no mention of reliance; see also supra).15 This Court held that “[t]o toll the statute of

limitations under the fraudulent concealment doctrine, Plaintiffs must allege (1) BNYM

intentionally concealed the causes of action; and (2) Plaintiffs were unable to discover the causes

of action with reasonable diligence.” ECF No. 36 at 16-17.16 This standard makes good sense

for situations like this one, where Plaintiffs were not aware (and could not have discovered with

reasonable diligence) that a wrong was occurring, and not distinct situations where a plaintiff

understood a wrong had occurred but withheld filing based on a defendant’s actions.

Accordingly, whether Plaintiffs “reasonably relied” on BNYM’s concealment has no bearing on

the availability of tolling. However, even if reliance were required, Plaintiffs testified that they

had no reason to believe that BNYM was improperly pricing ADR FX conversions. See Exh. 34

(Carofano Tr.) at 169:11-171:21, 177:21-179:4, 206:3-207:2; Exh. 35 (Feige Tr.), at 150:20-21;

188:8-190:20.

            D.     Genuine Issues of Fact Exist as to BNYM’s Acts of Concealment.

            BNYM contends that its acts of concealment raise no fact issues, because it amounts to a

mere “failure to disclose” its pricing scheme. To make this rather remarkable assertion, BNYM

must misstate what Plaintiffs’ burden to show disputed fact issues concerning fraudulent



15
   In its order on the motion to dismiss, this Court cited Hinds Cnty., 700 F. Supp. 2d at 400, which cites to
Hendrickson and also makes no mention of reliance in discussing fraudulent concealment.
16
   The Bank relies on authorities predominantly concerning equitable tolling—rather than fraudulent concealment—
for the proposition that plaintiffs must “reasonably rely” on defendants’ misrepresentations to toll the statute of
limitations. See Br. at 20. But those decisions are inapposite, the Bank is again conflating tolling doctrines.
Plaintiffs do not seek to prove that the Bank misled them in preventing them from filing claims of which they were
aware (as required to establish equitable tolling); Plaintiffs instead put forth evidence demonstrating that BNYM
worked behind-the-scenes to prevent them from discovering their claims in the first place (as required to establish
fraudulent concealment). See also supra n.7.



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concealment, and then mischaracterize the record, which plainly involves more than BNYM’s

omissions.

            First, the Bank again ignores this Court’s holding on fraudulent concealment’s elements:

1) BNYM’s intentional concealment, and 2) Plaintiffs’ inability to discover the causes of action

with reasonable diligence. ECF No. 36, at 16-17. BNYM’s attempt to create a higher standard

is contrary to established case law, which requires concealment, broadly defined, and not

exclusively affirmative misrepresentations. BNYM’s own authority (Br. at 21) recognizes this.

See Madison 92nd St. Assocs., LLC v. Courtyard Mgmt. Corp., No. 13 Civ. 3921 (CM), 2014

WL 3739322, at *14 (S.D.N.Y. July 29, 2014) (referring to requirement to show “affirmative

acts of misrepresentation or concealment”). See also, e.g., Golden v. Scalise, 87 A.D.2d 959,

959-60 (App. Div. 3d Dep’t 1982) (“[It cannot be said that defendants, by their own affirmative

actions or failure to disclose, induced plaintiffs to refrain from commencing suit by fraud,

misrepresentation or concealment”).

            Under any standard, however, Plaintiffs have shown that BNYM engaged in affirmative

acts of deception and concealment. In its “Bible,” BNYM announced its intention to deceive

investors, devising a strategy to “keep any outside party from detecting a pricing pattern.” Exh.

6.




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                                           Even the fact that the Bank finally disclosed its pricing

practices in 2015 (only after settling related litigation) (Exh. 5), raises a fact issue about whether

BNYM had been concealing its practices. Only by ignoring all of this evidence could the Bank

characterize its behavior as a mere “failure to disclose.”17

III.        BNYM Improperly Seeks Reconsideration of This Court’s Preliminary Ruling on
            Class Standing and to Preempt This Court’s Class Certification Inquiry.

            BNYM ends its brief by arguing that Plaintiffs cannot invoke equitable tolling if they did

not hold ADRs during the pre-limitations period. See Br. at 22-25.18 BNYM has simply dressed

up a previously rejected argument in slightly different clothes; what it actually seeks is

reconsideration of the Court’s ruling on its unsuccessful motion to dismiss Plaintiffs’ contract

claims.

            In moving to dismiss, the Bank argued, among other things, Plaintiffs lacked class

standing to represent holders of ADRs in which Plaintiffs themselves did not invest. ECF No.

22, at 25-27. The Court held that dismissal on that ground would be inappropriate, as Plaintiffs’

allegations satisfied the prerequisites for class standing articulated in NECA-IBEW Health &

Welfare Fund v. Goldman Sachs & Co. (“NECA”): (1) they “suffered some actual . . . injury as

the result of the putatively illegal conduct of the defendant,” and (2) “such conduct implicates the
17
   The Bank even tries to excuse this years-long failure to disclose by asserting that the contracts at issue do not
direct a manner of conversion for ADR cash dividends. See Br. at 22. But that only raises another fact issue, and
simply skips over the language of the contracts that Plaintiffs allege is at issue, which directs BNYM to execute
ADR FX conversions promptly and in good faith. See Compl. ¶ 6.
18
   The factual premise of BNYM’s argument on class standing – that BNYM converted no relevant ADR FX
conversions for a plaintiff outside of the limitations – may be wrong. See Pls.’ Resp. to BNYM L.R. 56.1 Statement
¶ 46 (concerning 2011 conversion). This would moot its class standing argument. But if BNYM has carried its
burden concerning pre-limitations period conversions, then the motion is procedurally improper for the reasons
stated in Section I above.



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same set of concerns as the conduct alleged to have caused injury to other members of the

putative class by the same defendants.” 693 F.3d 145, 162 (2d Cir. 2012) (internal quotations

and citations omitted). The Court determined Plaintiffs “alleged the existence of a common

contractual obligation and common conduct with respect to each ADR,” which was “enough to

survive a motion to dismiss.” ECF No. 36, at 15. The Court further explained, “As long as the

terms of the ADRs and their corresponding Deposit Agreements are as alleged, the proof

necessary for each class member will be substantially the same, and Plaintiffs can adequately

represent the interest of the entire purported class.” Id. at 15-16. Full consideration of those

issues, the Court concluded, “is thus deferred until class certification, when the objection may be

renewed as to the adequacy of Plaintiffs’ representing so broad a group.” Id. at 16.19

            Perhaps seeing the writing on the wall for class certification—the evidence clearly shows

the terms of the ADRs and Deposit Agreements “are as alleged,” and that BNYM’s pricing

practices were systematic and uniform throughout the Class Period (Br. at 9-12)—the Bank

attempts to prematurely litigate class standing. BNYM should not be permitted to circumvent

the Court’s clear directive and preempt its class certification inquiry.

            In any event, that the timeliness of Plaintiffs’ claims does not turn on BNYM’s fraudulent

concealment does not deprive them of standing to represent absent class members whose claims

accrued before the governing limitations periods. In suggesting otherwise, the Bank

misconstrues what is required for class standing.20 The issues involved in demonstrating the

Bank’s fraudulent concealment do not raise “fundamentally different concerns” as compared


19
   See also Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., 862 F. Supp. 2d 322, 333 (S.D.N.Y. 2012)
(Oetken, J.) (“A named plaintiff must show that it is a part of th[e] class by showing that it has the same interest in
redressing the same injurious conduct by the same defendant. But once it has established that, questions of
adequacy, typicality and the like should be resolved at the class certification stage.”) (alteration in original).
20
   The Bank does not expressly make a class standing argument, likely to avoid the appearance of seeking to revisit
the Court’s prior ruling and its directive that it would further consider this issue at class certification.



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with Plaintiffs’ claims. NECA, 693 F.3d at 162. This is particularly so because, regardless of

statute-of-limitations questions, Plaintiffs will rely on the same evidence bearing on fraudulent

concealment to show that BNYM breached the Deposit Agreements—an issue critical to all class

members’ claims. Specifically, Plaintiffs will use the Bible and other documents demonstrating

the Bank’s “policy” of concealing its pricing practices from “any outside party” to establish that

the Bank did not regard those practices as complying with the terms of the Deposit Agreements.

Else why the need to conceal them? The claims of Plaintiffs and absent class members thus will

not “turn on very different proof,” and they will have “the same necessary stake in litigating”

whether the Bank purposefully concealed its conduct. Id. at 163, 164.

            For similar reasons, “[a]lthough affirmative defenses such as the statute of limitations

defense may be considered as one factor in the class certification calculus, the existence of even

a meritorious statute of limitations defense does not necessarily defeat class certification.” In re

WorldCom, Inc. Sec. Litig., 219 F.R.D. 267, 303 (S.D.N.Y. 2003). As the First Circuit has

explained, “[a]s long as a sufficient constellation of common issues binds class members

together, variations in the sources and application of statutes of limitations will not automatically

foreclose class certification under Rule 23(b)(3).” Waste Mgmt. Holdings, Inc. v. Mowbray, 208

F.3d 288, 296 (1st Cir. 2000).21 The existence of potential differences in statute of limitations

issues among Plaintiffs’ and class members’ claims simply does not preclude Plaintiffs from

pursuing claims on behalf of those class members.

                                                  Conclusion

            For the foregoing reasons, the Bank’s motion should be denied.


21
   See also Pub. Emps.’ Ret. Sys. of Miss. v. Merrill Lynch & Co., 277 F.R.D. 97, 116-17 (S.D.N.Y. 2011) (rejecting
defendants’ argument that issues regarding “what was known about Defendants’ practices at different points in time
at which various plaintiffs purchased” defeated predominance).



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Dated: March 7, 2018                            Respectfully submitted,

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